                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE



PEARSON EDUCATION, INC. and                      Case No. 3:18-cv-00438
MCGRAW-HILL GLOBAL EDUCATION
HOLDINGS, LLC,


              Plaintiffs,                        Judge Waverly D. Crenshaw, Jr.
                                                 Magistrate Judge Barbara D. Holmes
 v.
C & N LOGISTICS, INC., RUSSELL TODD
WHITE, and SHAWN CHADWELL,
              Defendants.



                 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                 MOTION TO DISMISS DEFENDANTS’ COUNTERCLAIMS

         Plaintiffs Pearson Education, Inc. and McGraw-Hill Global Education Holdings, LLC

  (collectively, “Plaintiffs”) submit this Memorandum of Law in support of their Motion to

  Dismiss.

         Each of Defendants’ counterclaims should be dismissed for failing to state a plausible

  claim upon which relief can be granted. Defendants’ First and Second Counterclaims for

  declaratory judgment are repetitious and unnecessary, as they merely state mirror issues that

  Plaintiffs have already presented to this Court—namely, whether Defendants are liable for

  infringing Plaintiffs’ trademarks and copyrights through the importation and distribution of

  counterfeit copies of Plaintiffs’ textbooks. Under Sixth Circuit precedent, such “mirror image”




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counterclaims should be dismissed, because they serve no useful purpose and would be rendered

moot by the adjudication of Plaintiffs’ claims.

         Defendants’ Third and Fourth Counterclaims for tortious interference with contract and

with business relations should be dismissed because, even construing the allegations in the light

most favorable to Defendants, such allegations fail to establish all necessary elements of each

claim. Defendants’ tortious interference claims are also subject to dismissal under the Noerr-

Pennington doctrine, as Plaintiffs’ conduct about which Defendants complain was part and

parcel to their efforts to protect their intellectual property rights and seek redress in court.

    I.       FACTUAL BACKGROUND

         Plaintiffs are leading educational publishers who develop, market, and sell textbooks.

Plaintiffs’ Amended Counterclaim (“Am. Compl.”) ¶ 2 at 1-2. They are the owners or the

exclusive licensees of the rights in copyright to the textbooks at issue and the rights to

trademarks that appear on such textbooks. Id. ¶¶ 18-19 at 4. Plaintiffs invest heavily in creating

and publishing their textbooks and building a reputation of quality in the publishing industry. Id.

¶ 19 at 4.

         In the Complaint, Plaintiffs allege that Defendants have imported from overseas and

distributed in the United States hundreds, or more, counterfeit copies of their textbooks. Id. ¶ 20

at 4-5. Plaintiffs’ Complaint is premised entirely on the claim that the textbooks at issue are

unauthorized, counterfeit copies of Plaintiffs’ titles. Plaintiffs make no allegations about

Defendants’ importation or distribution of authentic books.

         Defendants responded to the Complaint by filing an Answer and four counterclaims

against Plaintiffs. At the center of all the counterclaims is a transaction between Defendants and

MBS Textbook Exchange, Inc. (“MBS”). Plaintiffs referred to this transaction in the Complaint,




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though they did not refer to MBS by name. Am. Compl. ¶ 22 at 5 (“In April 2017, Defendants

distributed numerous counterfeit copies of Plaintiffs’ Books, covering at least 14 separate titles,

to a national book distributor in the United States.”). As stated in Defendants’ counterclaims,

this national book distributor is MBS, and the transaction at issue involved the sale of 767 copies

of fourteen of Plaintiffs’ textbook titles. C&N Countercl. (Docket No. 22) ¶¶ 10-12 at 10;

Chadwell Countercl. (Docket No. 23) ¶¶ 10-12 at 10.

       Plaintiffs allege that Defendants each were responsible for importing these books and

distributing them to MBS. While Defendants may dispute that characterization of their role, it is

uncontested that Defendants gave MBS an invoice for the books that listed “C&N Logistics” as

the invoicer and “Tadley, Inc.,” a “payments processing company contracted by C&N to receive

payments,” as the payee. Id.; C&N Countercl. Ex. 1 (Docket No. 22-1) at 6. Defendants claim

that the original source of the books listed on the invoice was “Aika,” a company located in

Amman, Jordan. Id.; C&N Countercl. Ex. 4 (Docket No. 22-4).

       When MBS received and inspected the books, it suspected them to be counterfeit.

Plaintiffs’ First Amended Complaint (“Am. Compl.”) ¶ 21, at 5. In accordance with

arrangements between MBS and Plaintiffs, MBS surrendered the books to Plaintiffs for further

inspection, without informing Plaintiffs of the source of the books, and Plaintiffs confirmed the

counterfeit nature of the books. Id. Thereafter, MBS disclosed C&N as the source of the books

to Plaintiffs, and Plaintiffs’ counsel engaged in the communications with C&N, through

Defendant White, that Defendants reference in and attach to their counterclaims. Id.; C&N

Countercl. ¶¶ 17-25 at 11-12; C&N Countercl. Exs. 2-4; Chadwell Countercl. ¶¶ 17-22 at 11-12.

At each turn in these communications, Plaintiffs asserted, and continue to assert in this suit, that




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the books at issue are counterfeit. C&N Countercl. ¶ 17 at 11; C&N Countercl. Ex. 2 (Docket

No. 22-2) at 3; Chadwell Countercl. ¶ 17 at 11.

   II.       LEGAL STANDARD

          To survive a motion to dismiss, a pleading must “contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Mawdsley v. Kirkland's,

Inc., No. 3:13-CV-0462, 2013 WL 5754947, at *1 (M.D. Tenn. Oct. 23, 2013) (citing Ashcroft v.

Iqbal, 129 S.Ct. 1937, 1949 (2009)). A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged. Id. Legal conclusions couched as factual allegations are not entitled

to a presumption of truth; nor are recitations of the elements of a cause of action sufficient. Fritz

v. Charter Township of Comstock, 592 F.3d 718, 722 (6th Cir. 2010). Rather, the pleading must

“contain either direct or inferential allegations respecting all the material elements necessary to

sustain a recovery under some viable legal theory.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570 (2007). “Conclusory allegations or legal conclusions masquerading as factual

allegations will not suffice.” Eidson v. State of Tennessee Dep't of Children's Servs., 510 F.3d

631, 634 (6th Cir. 2007).

   III.      ARGUMENT

             A. Defendants’ First and Second Counterclaims (Declaratory Judgment Claims) Fail
                to State a Claim.

                     1. Defendants’ Claims Are Redundant, Mirror Images of Plaintiffs’ Claims.

          Defendants’ First and Second Counterclaims fail to state a claim and should be dismissed

because they merely address the same issues already presented in the Complaint. While the

decision to grant a declaratory judgment is within a court’s discretion, there are guiding

principles that apply. A declaratory judgment is favored “(1) when the judgment will serve a




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useful purpose in clarifying and settling the legal relationships in issue, and (2) when it will

terminate and afford relief from the uncertainty, insecurity, and controversy giving rise to the

proceeding.” Allstate Ins. Co. v. Mercier, 913 F.2d 273, 277 (6th Cir. 1990) (abrogated on other

grounds). If neither of these goals can be accomplished, as is the case here, the court should

decline to issue a declaratory judgment. Id.

       In accordance with these principles, a counterclaim for declaratory judgment does not

survive a motion to dismiss where it merely presents a redundant “mirror image” of a claim in

the complaint. See, e.g., Malibu Media, LLC v. Ricupero, 705 F. App'x 402, 405-06 (6th Cir.

2017) (affirming dismissal of declaratory judgment counterclaim for non-infringement of

plaintiff’s copyright, where resolution of plaintiff’s infringement claim would render the

counterclaim moot). Indeed, in this scenario, “the counterclaim serves no purpose.” Fed.

Deposit Ins. Corp. v. Project Dev. Corp., 819 F.2d 289, 1987 WL 37488, at *3 (6th Cir. 1987)

(affirming denial of a defendant’s motion for leave to amend its answer to add a redundant

counterclaim). Accordingly, district courts in this jurisdiction dismiss redundant counterclaims,

including those seeking declarations of non-infringement, that would serve no useful purpose

and would be rendered moot upon adjudication of the corresponding claim. See, e.g., Mawdsley

v. Kirkland's, Inc., No. 3-13-0462, 2013 WL 5754947, at *2 (M.D. Tenn. Oct. 23, 2013)

(dismissing counterclaim seeking mirror-image declaratory judgment for non-infringement of

plaintiff’s copyright); Richmond v. Centurion Exteriors, Inc., No. 3:10-0734, 2010 WL 3940592,

at *2 (M.D. Tenn. Oct. 6, 2010) (dismissing counterclaim for declaratory relief that would be

rendered moot upon adjudication of the complaint).

       Defendants’ First Counterclaim (Declaratory Judgment of Non-Infringement of

Plaintiffs’ Marks) presents a redundant mirror image of Plaintiffs’ trademark infringement




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claims, and therefore should be dismissed. Defendants ask the Court for a declaration that

“[their] use of Plaintiffs’ Marks does not and will not infringe Plaintiffs’ Marks.” 1 C&N

Countercl. ¶ 34 at 13; Chadwell Countercl. ¶ 31 at 13. This is a mirror image of Plaintiffs’ Third

and Fourth Claims for Relief in the Complaint, in which Plaintiffs claim Defendants have

infringed Plaintiffs’ Marks under the Lanham Act. For instance, Plaintiffs allege that

“Defendants are marketing, offering for sale, and selling in commerce counterfeits of Plaintiffs’

Books bearing unauthorized reproductions of Plaintiffs’ Marks.” Am. Compl. ¶ 47 at 10. On the

exact flip side, Defendants seek a declaration that “Defendants do not market, offer for sale, or

sell in commerce any goods bearing unauthorized reproductions of Plaintiffs’ Marks.” C&N

Countercl. ¶ 31 at 13; Chadwell Countercl. ¶ 28 at 12. Thus, Defendants’ First Counterclaim

would be resolved upon adjudication of Plaintiffs’ Third and Fourth Claims and rendered moot.

See Emma, Inc. v. Microstrategy, Inc., No. 3-11-0926, 2012 WL 90405, at *1 (M.D. Tenn. Jan.

11, 2012) (dismissing counterclaim for declaratory judgment on trademark non-infringement).2

To the extent Defendants are also seeking a declaration that (i) they did not engage in the

requisite acts of selling, offering for sale, advertising/marketing, or distributing goods under the

Lanham Act (see 15 U.S.C. § 1114(1), or (ii) the textbooks at issue are “legitimate,” these issues


1
  In the Complaint and the First Counterclaim, “Plaintiffs’ Marks” is defined to refer to those
trademarks listed on Exhibit B to the Complaint. Am. Compl. ¶ 19 at 4; C&N Countercl. ¶ 19 at
3; Chadwell Countercl. ¶ 19 at 3.
2
 To the extent Defendants also seek declaratory judgment that their acts do not give rise to the
related Lanham Act claims of unfair competition and trademark dilution, and the catch-all
category of parallel claims under state law, the disposition of Plaintiffs’ trademark infringement
claims – which involve the same set of core facts and the same or related legal analyses – will
fully resolve those issues as well. Cf. Audi AG v. D'Amato, 469 F.3d 534, 542 (6th Cir. 2006)
(explaining that the same test is used to determine “whether there has been trademark
infringement [and] unfair competition ... the likelihood of confusion between the two marks.”).
Defendants also include no independent factual allegations in connection with such claims, i.e.,
other than those alleged in support of their declaratory judgment claim under 15 U.S.C. §
1114(1), i.e., the basis of Plaintiffs’ trademark infringement claims.



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too will necessarily be resolved upon the adjudication of Plaintiffs’ trademark infringement

claims.

          Defendants’ Second Counterclaim (Declaratory Judgment of Non-Infringement of

Plaintiffs’ Copyrights) also should be dismissed because their request for a declaration that they

did not infringe Plaintiffs’ copyrights is a mirror image of Plaintiffs’ claims that they did

infringe. Plaintiffs’ infringement claims are based on Defendants’ importation and distribution

of unauthorized counterfeits of Plaintiffs’ works. In their counterclaim, Defendants allege the

opposite of this – that they “neither imported unauthorized copies of works embodying

Plaintiffs’ Copyrights nor distributed” such unauthorized copies. C&N Countercl. ¶ 36 at 13;

Chadwell Countercl. ¶ 33 at 13. Plaintiffs also allege that Defendants “indirectly infringed

Plaintiffs’ copyrights by encouraging, causing, and materially contributing to infringing conduct

by others” and further “engaged in, supervised, and/or controlled the importation and/or

distribution of” the counterfeits at issue. Am. Compl. ¶¶ 40–41 at 9. Defendants’ counterclaim

parrots back Plaintiffs’ language almost exactly, stating that they have not “encouraged, caused,

materially contributed to, knowingly engaged in, supervised, nor controlled the importation

and/or distribution” of the counterfeits at issue. C&N Countercl. ¶ 37 at 14; Chadwell Countercl.

¶ 34 at 13. Dismissal is appropriate in such a case where Defendants’ counterclaim, as

demonstrated above, is redundant of Plaintiffs’ copyright infringement claims. See Malibu

Media, 705 F. App’x. at 405.

                     2. Defendants Are Not Entitled to Declaratory Relief That Is Not Based on
                        an Actual Controversy.

          To the extent Defendants seek declaratory relief concerning their prospective conduct and

involvement with “legitimate textbooks” and “textbooks lawfully made and sold abroad” (see

C&N Countercl. ¶¶ 32, 34, 38, 39 at 13-14; Chadwell Countercl. ¶¶ 29, 31, 35, 36 at 12-14),




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such claims also must be dismissed because they are not based on an actual controversy. See 28

U.S.C. § 2201(a); AmSouth Bank v. Dale, 386 F.3d 763, 787 (6th Cir. 2004); TCI/TKR Cable v.

Johnson, 30 Fed. Appx. 581, 583-84 (6th Cir. 2002). The controversy at issue must be

“sufficiently real and immediate, allowing specific and conclusive relief.” Dow Jones & Co. v.

Harrods, Ltd., 237 F. Supp. 2d 394, 406 (S.D.N.Y. 2002); Roadtec, Inc. v. Rd. Sci., LLC, No.

1:10-CV-338, 2013 WL 12123357, at *6 (E.D. Tenn. Feb. 14, 2013) (finding no declaratory

judgment jurisdiction because there was no sufficiently real and immediate controversy).

“Abstract questions,” claims that would result in the “gratuitous[ ] rendering [of] advisory

opinions,” and claims that “have not matured to a point sufficiently concrete to demand

immediate adjudication and thus that may never materialize as actual controversies” are not

sufficient to state claims for declaratory relief. Dow Jones, 237 F. Supp. 2d at 406. Under these

principles, to the extent Defendants seek declaratory judgments absolving them of wrongdoing

associated with unspecified, future conduct, their request is without merit. See, e.g.,

       Further, Defendants’ counterclaims relating to “legitimate” or “lawfully made” books

should be dismissed because they do not relate to an issue actually in controversy. As stated

above, Plaintiffs’ allegations only relate to counterfeit textbooks—as demonstrated by the

Complaint in this action and the Plaintiffs’ correspondence (which Defendants incorporated in

their counterclaims). Defendants appear to be referring to the issues in Kirtsaeng v. John Wiley

& Sons, Inc., 568 U.S. 519, 133 S. Ct. 1351 (2013), which Plaintiffs have not raised. Plaintiffs

make no allegations of infringement or other violations of law by Defendants with respect to

“legitimate” books and the subsequent sale of books “lawfully made and sold abroad,” and

therefore there is no related controversy on which the Court could issue declaratory judgment.




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       Both because Defendants’ declaratory judgment claims would be resolved by the

adjudication of Plaintiffs’ infringement claims, and they are not based on an actual, justiciable

controversy, they should be dismissed with prejudice.

           B. Defendants Do Not Plausibly and Sufficiently Plead the Elements of Their Third
              Counterclaim (Intentional Interference with Contract).

       Defendants’ counterclaim for tortious interference with contract fails to state a claim

upon which relief can be granted. Under Tennessee law, a claimant must establish the following

necessary elements of the claim: “(1) that there was a legal contract; (2) that the defendant knew

of the existence of the contract; (3) that the defendant intended to induce a breach of the contract;

(4) that the defendant acted maliciously; (5) that the contract was actually breached; (6) that the

defendant’s acts were the proximate cause of the breach; and (7) that the plaintiff suffered

damages resulting from the breach.” Lee v. State Volunteer Mut. Ins. Co., No. E2002-03127-

COA-R3-CV, 2005 WL 123492, at *10 (Tenn. Ct. App. Jan. 21, 2005) (citation omitted). The

complaint “must allege specific facts that, if true, would support each of the seven elements of

the tort.” Id. (granting motion to dismiss for failure to do so).

       Defendants’ counterclaim fails in multiple respects. First, Defendants have not

sufficiently alleged facts to support the existence of a legal contract about which Plaintiffs knew.

To survive a motion to dismiss, the specific contract at issue, including the relevant terms, must

be clear from the allegations. Leadsinger, Inc. v. Cole, No. 05 CIV. 5606 (HBP), 2006 WL

2320544, at *12 (S.D.N.Y. Aug. 10, 2006) (dismissing claim because plaintiff failed to allege the

relevant terms of the contract at issue and how defendant breached those terms). Here,

Defendants summarily allege that a “legal contract for the procurement and successful delivery

of the allegedly infringing textbooks existed between Defendant C&N and MBS.” C&N

Countercl. ¶ 41 at 14; Chadwell Countercl. ¶ 38 at 14. While Defendants attached certain




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documents as exhibits to their counterclaims, they conspicuously did not attach a contract

between C&N and MBS, nor did they allege what specific contract, if any, forms the basis of

their claim.

         As to Plaintiffs’ knowledge of the unidentified contract, Defendants allege that “Plaintiffs

were aware of the contract between C&N and MBS at least by and through their counsel.” C&N

Countercl. ¶ 42 at 14; Chadwell Countercl. ¶ 39 at 14 (emphasis added). However, Defendants’

allegations and the correspondence they attach as exhibits do not indicate that Plaintiffs had any

knowledge of the alleged contract (through Plaintiffs’ counsel or otherwise) prior to the alleged

acts of interference. See, e.g., C&N Countercl. ¶¶ 15-17 at 10-11; Chadwell Countercl. ¶¶ 15-17

at 10-11; see also Sophia's Cure Inc. v. AveXis, Inc., No. 2:16-CV-865, 2017 WL 4541449, at *7

(S.D. Ohio Oct. 10, 2017) (“To be liable for tortious interference, a tortfeasor must not only

have knowledge of the contract, he must have knowledge of the contract at the time of, or before,

the alleged breach.”) (citation omitted). Further, as stated in Plaintiffs’ Amended Complaint,

Plaintiffs affirmatively did not have knowledge of the source of the textbooks at issue when they

confirmed to MBS their counterfeit nature and, therefore, could not have known of an existing

contract between MBS and the unknown seller, or acted in order to interfere with it. See Am.

Compl. ¶ 21 at 5. Nothing in Defendants’ Counterclaims contradicts, or could contradict, these

facts.

         Second, Defendants’ tortious interference with contract claim fails to establish the breach

element. Defendants allege “the contract has been breached because C&N has been unable to

complete delivery to, or collect payment from, MBS.” C&N Countercl. ¶ 44 at 15; Chadwell

Countercl. ¶ 41 at 14. However, the allegation regarding delivery completion is contradicted by

Defendants’ own allegations, which make clear that Defendants did deliver the books to MBS.




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See C&N Countercl. ¶ 16 at 11; Chadwell Countercl. ¶ 16 at 11 (“Upon information and belief,

Plaintiffs caused to be seized the shipment of textbooks that had been delivered to MBS”)

(emphasis added); id. Ex. 3 (letter from White referring to “the books we delivered to MBS”).

Rather, the real issue appears to be Defendants’ allegation that they did not get paid for the books

by MBS. Again, however, this contradicts Defendants’ other allegations that C&N “only acts as

a logistics, transportation, and facilitation company connecting buyers and sellers” and that Aika

was the seller.” See C&N Countercl. ¶¶ 15, 18 at 10-11; Chadwell Countercl. ¶¶ 15, 18 at 10-11.

It also is difficult to square with the invoice Defendants attached to the counterclaims, which

identifies Tadley, Inc. (who is not a party) as the payee. See Chadwell Countercl. Ex. 1; see also

Oak Ridge Precision Indus., Inc. v. First Tennessee Bank Nat. Ass'n, 835 S.W.2d 25, 29 (Tenn.

Ct. App. 1992) (in discussing statutory interference claim, stating that “the proper plaintiff is the

contracting party injured by the breach, not the breaching party”). Defendants noticeably stop

short of affirmatively alleging that MBS breached a contract with C&N by failing to pay C&N,

perhaps for these reasons and the additional reason that there can be no breach for failure to pay

for counterfeit goods.

       Third, Defendants’ allegations concerning Plaintiffs’ purported interference, malice, and

proximate cause are insufficient to state a claim. Defendants allege, without support, that

“Plaintiffs specifically intended to prevent the distribution, purchase, and resale of authorized

and legitimate textbooks lawfully made abroad within the United States in order to maintain their

artificially inflated prices for U.S.-sold textbooks and prevent the existence and dissemination of

cheaper textbooks in the U.S. market.” C&N Countercl. ¶ 43 at 14; Chadwell Countercl. ¶ 40 at

14. In making this allegation, Defendants do not “plead [] factual content that allows the court to

draw the reasonable inference” that Plaintiff engaged in the conduct alleged, with the intent




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alleged. See Mawdsley, 2013 WL 5754947, at *1. The Complaint in this action, and all of

Plaintiffs’ correspondence prior to the filing of the action (which Defendants incorporated into

their counterclaims), shows that, from Plaintiffs’ perspective, counterfeit textbooks– not

“legitimate” textbooks, or “textbooks lawfully made abroad” – were, and are, the only issue.

Defendants may disagree with Plaintiffs’ conclusion that the books are counterfeit, but what

matters in this context is Plaintiffs’ knowledge, intentions, and actions.

       Moreover, these same insufficient allegations form the basis of Defendants’ conclusory

statements in their Third Counterclaim that “Plaintiffs acted with malice” and “Plaintiffs’

conduct is the proximate cause of the breach and resulting harm” to Defendants. C&N

Countercl. ¶¶ 43, 45 at 14-15; Chadwell Countercl. ¶¶ 40 at 143; see Fritz v. Charter Township of

Comstock, 592 F.3d 718, 722 (6th Cir.2010) (legal conclusions couched as factual allegations are

not entitled to a presumption of truth; nor are recitations of the elements of a cause of action

sufficient). Malice in the context of tortious interference with contract is “the willful violation of

a known right” through “intentional conduct” done “without legal justification.” Whalen v.

Bourgeois, No. E2013-01703-COA-R3-CV, 2014 WL 2949500, at *12 (Tenn. Ct. App. June 27,

2014). Defendants’ allegations and the facts that can plausibly be drawn from the pleadings

offer no support for the conclusion that Plaintiffs did anything other than notify MBS that the

textbooks at issue were counterfeit. Such action is neither a violation of a known right of

Defendants nor an act without legal justification. In fact, as discussed below in Section III.D, it

is quite the opposite.




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  It should be noted that Chadwell’s Third Counterclaim does not allege that Plaintiffs’ conduct
is the proximate cause of the breach and resulting harm. See Chadwell Countercl. ¶¶ 37-42 at
14.




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       In sum, the Court should reject Defendants’ attempt to gloss over, and insufficiently

plead, the elements of their tortious interference with contract claim, and dismiss this claim with

prejudice because it is clear from the allegations already made that Defendants cannot satisfy its

essential elements.

           C. Defendants Do Not Plausibly and Sufficiently Plead the Elements of Their Fourth
              Counterclaim (Intentional Interference with Business Relationship).

       Like Defendants’ tortious interference with contract claim, their tortious interference with

business relationship counterclaim also fails to sufficiently allege each necessary element and, as

such, fails to state a claim upon which relief can be granted. Under Tennessee law, the claimant

must allege the following:

       (1) an existing business relationship with specific third parties or a prospective
       relationship with an identifiable class of third persons; (2) the [respondent’s]
       knowledge of that relationship and not a mere awareness of the [claimant’s]
       business dealings with others in general; (3) the [respondent’s] intent to cause the
       breach or termination of the business relationship; (4) the [respondent’s] improper
       motive or improper means ...; and finally, (5) damages resulting from the tortious
       interference.

Stallings v. Latimer Consulting Group, Inc., No. 1:12-CV-298, 2013 WL 12100570, at *6

(E.D.Tenn. Nov. 13, 2013), citing Trau-Med of Am., Inc. v. Allstate Ins. Co., 71 S.W.3d 691, 701

(Tenn. 2002) (emphasis in original).

       As discussed in Section III.B above, Defendants do not allege, nor could they, that

Plaintiffs were aware of Defendants’ business relationship with MBS at the time they identified

the books as counterfeit. See C&N Countercl. ¶ 48 at 15; Chadwell Countercl. ¶ 39 at 14

(referencing Plaintiffs’ being “aware” based on “communication with counsel,” which occurred

later in time). Also, Defendants’ vague allegation that Plaintiffs were aware of Defendants’

relationship with MBS because of “prior dealings between C&N and Plaintiffs” is not sufficient

to satisfy the knowledge element of the tort. See id. The defendant (or in the case the Plaintiffs)




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has to be aware of the particular relationship with which it allegedly interfered; a general

awareness that parties had dealt with one another will not suffice. See Stallings v. Latimer

Consulting Group, Inc., 2013 WL 12100570, at *6; Pers. Computer Sys., Inc. v. Cent. Knox, Inc.,

No. 3:11-CV-374, 2012 WL 1108245, at *5 (E.D. Tenn. Mar. 30, 2012). Likewise, Plaintiffs’

broad allegations that Plaintiffs interfered with their existing relationship with unnamed textbook

distributors other than MBS, and “a prospective relationship with other U.S.-based textbook

distributors,” are clearly too generic to support a tortious interference claim. Medison Am., Inc.

v. Preferred Med. Sys., LLC, 548 F. Supp. 2d 567, 587 (W.D. Tenn. 2007), aff'd, 357 F. App'x

656 (6th Cir. 2009), citing Trau-Med of America, Inc. v. Allstate Ins. Co., 71 S.W.3d 691, 701

(Tenn. 2002) (a claim of tortious interference requires a claim of an existing business

relationship with “specific third parties” or a prospective relationship with “an identifiable class

of third persons”).

       Defendants’ counterclaim also fails to satisfy the intent and improper motive elements of

tortious interference with business relations. As the Tennessee Supreme Court explained, “with

regard to improper motive, we require that the plaintiff demonstrate that the defendant's

predominant purpose was to injure the [claimant].” Trau-Med of Am., Inc., 71 S.W.3d at 701

n.4. (emphasis added). Defendants make no such allegation, nor could they, and what they do

allege shows that any supposed injury to Defendants was merely incidental to Plaintiffs’ other

alleged agendas:

       Plaintiffs were motivated to prevent the importation and resale of cheaper, lawful
       textbooks in order to maintain their anticompetitive prices and economic
       advantage in the U.S. textbook market. By preventing others such as C&N and
       MBS from importing and/or facilitating the importation and resale of cheaper
       textbooks lawfully made abroad, Plaintiffs seek to reduce supply of lawful
       textbooks in the U.S. market and eliminate the secondary textbook market in
       order to bolster their position as the only source for Plaintiffs' textbooks.




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C&N Countercl. ¶ 50 at 15; Chadwell Countercl. ¶ 47 at 15 (emphasis added).

       Thus, even assuming Defendants’ allegations are true, which they are not, Defendants

themselves contend that Plaintiffs were motivated by concern over U.S. book prices and the

secondary book market, and not by a principal desire to injure Defendants. Such claims are not

sufficient to meet the “improper motive” element of the test for interference with business

relationships. See Freeman Mgmt. Corp. v. Shurgard Storage Ctrs., LLC, 461 F. Supp. 2d 629,

641 (M.D. Tenn. 2006) (dismissing interference with business relationship claim where

respondent “was motivated purely by its own business interests, in the pursuit of which it caused

incidental harm to [claimant].”); Terra Aqua Gabions, Inc. v. Midwest Const. Prods. Corp., No.

M2005-01753-COA-R3-CV, 2006 WL 2105996, at *4 (Tenn. Ct. App. July 28, 2006) (claim

dismissed where claimant “failed to assert any set of facts which would support a determination

that [respondent’s] predominant motive ... was to injure [plaintiff].”).

       Furthermore, Defendants fail to allege that Plaintiffs used “improper means” to interfere

with their relationship with MBS (or any other textbook distributor). Improper means of

interference includes “those means that are illegal or independently tortious, such as violations of

statutes, regulations, or recognized common-law rules, ... violence, threats or intimidation,

bribery, unfounded litigation, fraud, misrepresentation or deceit, defamation, duress, undue

influence, misuse of inside or confidential information, or breach of a fiduciary relationship, ...

and those methods that violate an established standard of a trade or profession, or otherwise

involve unethical conduct, such as sharp dealing, overreaching, or unfair competition.”

Shelbyville Hosp. Corp. v. Mosley, 69 F. Supp. 3d 718, 727 (E.D. Tenn. 2014) (quoting Trau–

Med of Am., Inc. v. Allstate Ins. Co., 71 S.W.3d 691, 701 n.5 (Tenn. 2002)). Defendants’

counterclaim contains no such allegations of “improper means.” As explained above, Plaintiffs




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informed MBS that certain books were counterfeit (without even knowing Defendants supplied

them), and Defendants make no allegation (nor could they) that Plaintiffs reached this

determination in bad faith or falsely communicated it to MBS. If Defendants’ distribution of

counterfeits harmed its business relationships, Plaintiffs are in no way responsible for that result,

and Defendants’ intentional interference with business relationship claim should be dismissed.

            D. Defendants’ Third and Fourth Counterclaims Also Should Be Dismissed Under
               the Noerr-Pennington Doctrine.

        “The Noerr-Pennington doctrine, based on the right to seek redress in the courts, provides

that a party ‘may not be subjected to liability for its attempt to have its rights protected by the

courts unless that attempt is shown to have been a mere ‘sham.’” Beirut Traders Co. v. Neiman

Marcus Grp., Inc., Maersk, Inc., No. 2:09-CV-11176, 2009 WL 3460674, at *8 (E.D. Mich. Oct.

22, 2009), citing Melea Ltd. v. Quality Models, Ltd., 345 F.Supp.2d 743, 758 (E.D.Mich. 2004).4

In the intellectual property context, this doctrine bars counterclaims for tortious interference

arising from Plaintiffs’ acts to protect their intellectual property rights. Id. (“plaintiff’s pre-

lawsuit correspondence, asserting its rights as a trademark holder, could be protected activity

under the Noerr-Pennington doctrine”); Melea, 345 F. Supp. 2d at 758; Sweet St. Desserts, Inc.

v. Chudleigh's Ltd., 655 F. App'x 103, 111 (3d Cir. 2016) (respondent’s sending a cease and

desist letter regarding trademark was protected under Noerr-Pennington and could not serve as




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  While the Noerr-Pennington doctrine was initially recognized in the antitrust field, the Sixth
Circuit has favorably noted that “the federal courts have by analogy applied it to claims brought
under both state and federal laws, including common law claims of tortious interference.”
Campbell v. PMI Food Equip. Grp., Inc., 509 F.3d 776, 790 (6th Cir. 2007) (stating that
claimant’s motion to dismiss may have merit under Noerr-Pennington, but declining to decide
that issue because it was not claimed); see also Assist-2-Sell, Inc. v. Assist-2-Build, LLC, No.
1:05-CV-193, 2005 WL 3333276, at *7 (E.D. Tenn. Dec. 6, 2005) (noting that Noerr-Pennington
immunity has been extended to tortious interference actions in the Third Circuit and at least one
District Court in the Sixth Circuit).



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basis for tortious interference claim); Storage Tech. Corp. v. Custom Hardware Eng'g &

Consulting, Ltd., No. CIV.A. 02-12102RWZ, 2006 WL 1766434, at *35 (D. Mass. June 28,

2006) (email encouraging recipient to ascertain the legality of the practices in question are

protected under Noerr-Pennington).

       Plaintiffs’ alleged conduct in this case is protected under Noerr-Pennington, and

Defendants should be barred from pursuing counterclaims for tortious interference arising

therefrom. For instance, in Defendants’ Third Counterclaims, Defendants claim that “[b]y

alleging C&N engages in counterfeit activities and threatening infringement, by seizing or

causing to be seized the April 27, 2017 order to be delivered to MBS, and by initiating this

lawsuit, Plaintiffs have engaged in conduct that has prevented C&N from performing its

contractual obligations.” C&N Countercl. ¶ 44 at 15; Chadwell Countercl. ¶ 41 at 14. However,

Plaintiffs’ pre-litigation communications about the counterfeit nature of the books and the

resulting infringement, as well as the filing of this lawsuit, fit squarely within the Noerr-

Pennington doctrine, as demonstrated by the cases cited above. See, e.g., Melea, 345 F. Supp. 2d

at 758, citing Pennwalt Corp. v. Zenith Lab., 472 F.Supp. 413, 424 (E.D.Mich. 1979). Further,

the narrow “sham” exception to Noerr-Pennington does not apply. Again, while Defendants may

disagree that the books are counterfeit, Defendants have not alleged, nor could they, that

Plaintiffs’ conduct to enforce their intellectual property rights was a mere sham tantamount to

“illegal, reprehensible practices such as perjury, fraud ... or [conduct that] is so clearly baseless

as to amount to abuse of process.” Beirut Traders 2:09-CV-11176, 2009 WL 3460674, at *8

(E.D. Mich. Oct. 22, 2009), quoting Audi AG and Volkswagon of America v. D'Amato, 341 F.

Supp. 2d 734, 759 (E.D. Mich. 2004). Thus, as an alternative to dismissal of Defendants’




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tortious interference claims for failure to sufficiently allege each essential element thereof, these

counterclaims should be dismissed, with prejudice, under the Noerr-Pennington doctrine.

   IV.      CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court dismiss

Defendants’ counterclaims with prejudice.


 Dated: July 16, 2018                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of July, 2018, a true and exact copy of the foregoing
Memorandum has been served on Defendants C & N Logistics, Inc. and Todd White via ECF
and on Defendant Shawn Chadwell via email per agreement of the parties.

                                             s/ Michael A. Johnson
                                             Michael A. Johnson




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